Case 5:21-cr-00009-LGW-BWC Document 235-1 Filed 12/17/21 Page 1of2

EXHIBIT A
Location Received: 7 Nome? de ; a
410 W 6th St Tifton, GA 31794 Brett Bussey berets
Address: nate:
410 W 6th St Tifton, Ga 31794 11/17/2021 26 eS
| Case No.
|
item .
Number item Description
E40 Cash (uncounted) Credit Cards Identification Cards a bet
E-11 Money Orders Checks ee 2
£-12 US Passport - Brett Bussey : 4 a
E-13 Cash (uncounted) US Passport -: 5 ae
£-14 List of Farms and Contacts Handwritten Notes re: housing Voided Check . - Foes
E-15 IRS Documentation 1040s W2 Bencor Documentation IRS and Bank Username and Passwords SYNOVUS Visa spent cad 6 Green Dot Visa Bebe,
E-16 Business Bank Statement Personal Bank Information Red Folder with Sponsor ID Documents Notepad with f Business sand ledger Info za
E-17 Laptop with power cord =!
E-18 Notepads with Ledger Information Bank Card Business Cards Shipping Receipt eet a = ss
E19 Business Cards Wage and Hour Documents for Ponce Harvesting Copy af 1040 Paystub
E-20 Check Receipts Money Orders Misc. Paperwork and Notes [oat a EAB Re en Eos
E-21 Check Receipts Money Orders Misc. Paperwork and Notes f
6-22 Seagate Cxternal HDD - 2TR SN: NASKBXM1
E23 Hp - All In One Envy Model: 27-8255QD SN: 8CQ82500GM
24 Binders with Agreements Handwritten Notes Copies of M.0.s FLC Documents
E-25 HP Laptop Spectre 360% Model 15-cb00432x SN: SCOO22FGLF Power Cords H-2 Advisors LLC Business Cards :
£26 ‘ HP Laptop - Black X16-96072 00196-183-727-891 ‘
a 637 Two Thumb Drives
E-28 Two Apple iPhones with charger ‘
£-29 Farmer Contracts and Inventory
“E30 Business Cards Contracts Fee Schedule Hotel Documents
os Misc Documents Bank Account Statements
E32 invoices with Money Order Receipts
£8 Cash (uncounted]
£9 Cash (uncounted] ce i ‘

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